
992 So.2d 933 (2008)
Carmen LAMBERT, Individually and as Curatrix of Sherri Gonsoulin; Ryan Lambert, Individually and as Undercurator of Sherri Gonsoulin; Carmen Lambert and Ryan Lambert, Individually and on Behalf of Their Minor Children, Kaitlyn Lambert and Kristyn Lambert; and Sherri Gonsoulin, Individually
v.
Deanne M. ROUSSEL, Robert P. Roussel, State Farm Mutual Automobile Insurance Company, George McRay Foster, George M. Foster, ABC Insurance Company, City of Hammond, DEF Insurance Company, Louisiana Department of Transportation and Development, and XYZ Insurance Company.
No. 2008-CC-1193.
Supreme Court of Louisiana.
September 19, 2008.
*934 Denied.
JOHNSON, J., would grant.
